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                                         October 16, 2020
Via ECF
The Honorable Edgardo Ramos
Thurgood Marshall U.S. Courthouse                             at page 4.
40 Foley Square
New York, NY 10007

       Re:   In re Ex Parte Application of Eurasian Natural Resources Corporation Limited
       Pursuant to 28 U.S.C. § 1782 for Leave to Take Discovery for Use in Foreign
       Proceedings, No. 1:20-mc-00312-ER (S.D.N.Y. 2020)
Dear Judge Ramos:
        We represent Respondent HarperCollins Publishers LLC (“HarperCollins US”) in the
above-referenced action. Pursuant to Local Rule 37.2 and Rule 2(A)(i) of Your Honor’s Individual
Practices in Civil Cases, as well as the parties’ agreement, we write to request an informal pre-
motion conference with the Court to briefly set forth the legal and factual basis for the anticipated
motion of HarperCollins US to quash the subpoena served on it by Petitioner Eurasian Natural
Resources Corporation Limited (“ENRC”) on September 19, 2020 (the “Subpoena”).
                                          BACKGROUND
        On May 16, 2018, Tom Burgis, an award-winning investigative journalist for The
Financial Times based in London, contracted with HarperCollins UK to write and publish a book
called Kleptopia, which explores modern-day corporate corruption (hereinafter, the “Book”). Mr.
Burgis worked closely with the editorial and legal team at HarperCollins UK to fact-check and
finalize the Book. While Mr. Burgis also contracted with HarperCollins US (HarperCollins UK’s
sister company) to publish the same Book in the United States, HarperCollins US had minimal
involvement in drafting and reviewing the Book, as HarperCollins UK was the lead publisher.
        Because the Book was going to include discussion of ENRC, Mr. Burgis reached out to
ENRC for comment prior to publication, providing them with a 33-page document containing the
precise information about the company that he intended to include in the Book. At that time,
ENRC had already initiated four lawsuits in the UK against various individuals and entities whom
it claimed had wrongfully acquired and/or used ENRC’s confidential information. ENRC brought
these lawsuits in an apparent attempt to silence critics and media outlets, which had published
articles covering the UK Serious Fraud Office’s investigations into ENRC’s alleged corruption,
bribery, and other wrongdoing. Much of Mr. Burgis’s 33-page document was based on these
public news articles and court filings from the four UK lawsuits. See Shanmuganathan Decl., Exs.
2-12 (ECF Nos. 4-2 to 4-12).
        ENRC initiated the above-referenced action the day before the Book’s publication in the
UK, seeking discovery from HarperCollins US allegedly to aid its UK-based litigations and in
contemplation of bringing an additional case against Mr. Burgis—but more likely (given the
timing) to intimidate the publishers into halting publication. In its application, ENRC admitted
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that it had “not seen or read the contents of the Book,” but claimed it suspected Mr. Burgis
possessed the same confidential information that is the subject of its UK litigations, based on the
33-page document. ECF No. 2 at 7. Notably, however, ENRC declined to specifically identify
which information from that document was allegedly confidential. The Court granted ENRC’s
application ex parte on September 9, 2020, allowing it to serve the Subpoena at issue.
                                              ARGUMENT
         The Court should quash this Subpoena for at least five reasons: (1) the Subpoena’s primary
purpose is harassment; (2) it improperly seeks newsgathering materials that are completely
protected from disclosure by the reporter’s privilege under New York, federal, and UK law; (3) it
improperly seeks documents that are subject to the attorney-client privilege; (4) it improperly seeks
documents from a New York entity that are almost entirely held by its UK-based corporate
affiliate, for use in UK-based litigations; and (5) the requested discovery would not support a valid
legal claim under US or UK law.
1. The Subpoena’s Primary Purpose is Harassment.
         “[I]f the district court determines that a party’s discovery application under section 1782 is
made in bad faith, for the purpose of harassment, or unreasonably seeks cumulative or irrelevant
materials, the court is free to deny the application in toto, just as it can if discovery was sought in
bad faith in domestic litigation.” In re Postalis, No. 18-MC-497 (JGK), 2018 WL 6725406, at *5
(S.D.N.Y. Dec. 20, 2018). It is clear that ENRC knows it has no viable claim against Mr. Burgis
because it has never specified exactly which portions of Mr. Burgis’s 33-page document—nor the
Book, now publicly available—include ENRC’s allegedly confidential information; and it is aware
that much of the information therein is publicly available. The only plausible explanation for the
instant proceeding is ENRC’s relentless harassment campaign against its critics in the media—for
which reason alone the Court should quash the Subpoena.
2. ENRC Improperly Seeks Newsgathering Materials That Are Protected from Disclosure
by the Reporter’s Privilege Under New York, Federal, and UK Law.
         Under the New York Shield Law, confidential newsgathering materials or sources are
absolutely privileged from disclosure; and unpublished non-confidential materials are subject to a
qualified privilege, which is only overcome in exceedingly rare cases upon a “clear and specific
showing” that the information sought: “(i) is highly material and relevant; (ii) is critical or
necessary to the maintenance of a party’s claim, defense or proof of an issue material thereto; and
(iii) is not obtainable from any alternative source.” N.Y. Civ. Rights Law § 79-h(b-c). Federal
common law and UK law also recognize a qualified privilege for journalistic information. See In
re Petroleum Prod. Antitrust Litig., 680 F.2d 5, 7 (2d Cir. 1982); see also Goodwin v. UK, App.
No. 17488/90, 22 Eur. Ct. H.R. 123 [39] (Mar. 27, 1996). In fact, in a decision cited by ENRC, a
California court noted that “the [federal] journalist’s privilege may well apply to the discovery that
ENRC seeks” in the U.S., involving the media. See In re Eurasian Nat. Res. Corp., Ltd., No. 18-
MC-80041-LB, 2018 WL 1557167, at *3 (N.D. Cal. Mar. 30, 2018).
         In writing the Book, Mr. Burgis worked with many sources who were not comfortable
publicly identifying themselves in print, fearing that there could be consequences from the
powerful companies and individuals mentioned in the Book. Accordingly, much of the material
that ENRC seeks—such as the drafts of the Book and fact-checking correspondence between Mr.
Burgis and his editors—contains the identities of, or information that could reveal the identities
of, these unnamed sources, and information told to Mr. Burgis in confidence. As a result, these
documents are absolutely privileged from disclosure under the Shield Law. Even if there exist any
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documents responsive to the Subpoena that do not contain confidential information, these
documents are still protected from disclosure because ENRC cannot satisfy the high standard
required to overcome the Shield Law’s qualified privilege for unpublished newsgathering
materials.
         For example, ENRC cannot maintain that the information sought is not attainable from
other sources where it has commenced four other litigations in the UK and has apparently even
had the opportunity to collect documents and discovery from the very individuals whom ENRC
alleges provided Mr. Burgis with its confidential information. See Shanmuganathan Decl., Exs.
14-16 (ECF Nos. 4-14 to 4-16); see also In re Application of Shervin Pishevar, 439 F. Supp. 3d
290, 306 (S.D.N.Y. 2020) (denying 1782 application under the federal reporter’s privilege, where
petitioner “failed to make a clear and specific showing that the identity of the Confidential Source
is not obtainable from other available sources,” and later granting same only after petitioner made
such a showing).
3. ENRC Improperly Seeks Documents That Are Subject to the Attorney-Client Privilege.
         Communications between counsel and a third-party author in the course of pre-publication
legal review of editorial content are protected by the attorney-client privilege. See Berisha v.
Lawson, No. 19-10315, 2020 WL 5228847, at **10-13 (11th Cir. Sept. 2, 2020) (holding that
under New York law, an author’s communications with his publisher’s attorney who conducted
pre-publication legal review of the book’s contents were protected by the attorney-client privilege).
Any communications involving legal advice provided in the course of the Book’s pre-publication
review would be absolutely protected from disclosure under the attorney-client privilege.
4. ENRC Subpoenaed a New-York Based Company for Documents That Are Almost
Entirely Held by Its UK-Based Corporate Affiliate, for Use in UK Litigations.
         ENRC oddly seeks documents from HarperCollins US instead of HarperCollins UK,
despite the former’s very limited involvement in the review of the Book. ENRC should not be
permitted to do an end run around the UK discovery procedures by seeking HarperCollins UK’s
documents from HarperCollins US. “[C]orporations . . . are entitled to have their separate
corporate identities respected” for purposes of Section 1782 discovery. In re Effecten-Spiegel AG,
No. 18MC93 (DLC), 2018 WL 3812444, at *2 (S.D.N.Y. Aug. 10, 2018) (denying petitioner’s
Section 1782 application for documents from two New York financial entities where their foreign
affiliate in Ireland was the entity that actually conducted the transaction at issue and the New York
entities had limited, if any, involvement). To the extent that ENRC seeks discovery from
HarperCollins UK by way of this Subpoena to aid in a potential UK litigation against the publisher,
the Court should not allow such a use under 1782. See Intel Corp. v. Advanced Micro Devices,
Inc., 542 U.S. 241, 264 (2004) (holding that, in ruling on 1782 applications, courts should consider
whether “the person from whom discovery is sought is a participant in the foreign proceeding”).
5. The Requested Discovery Would Not Support a Valid Legal Claim Under US or UK Law.
         Now that the Book is public, ENRC can ascertain for itself that it does not contain or
“misuse” any of ENRC’s confidential information. Because “misuse” of confidential information
is an element of a “breach of confidence” action under UK law, ENRC cannot establish a valid
claim against Mr. Burgis, regardless of any of the requested discovery. Additionally, such a claim
would violate clearly established First Amendment doctrine. See Bartnicki v. Vopper, 532 U.S.
514, 535 (2001) (holding that the First Amendment bars the imposition of civil liability against a
journalist for truthful speech about a matter of public concern, even if the third party who provided
information to the journalist obtained that information unlawfully).
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                                                        Respectfully submitted,

                                                           /s/ Laura R. Handman




Respondent's request for a premotion conference is granted. The parties are directed to appear
telephonically before the Court on October 27, 2020 at 11:30 a.m. The parties will use the following
conference call information: (877) 411-9748; Access Code: 3029857#. Petitioner is directed to
respond to the arguments in Respondent's letter, Doc. 16, by Wednesday, October 21, 2020. The
Clerk is respectfully directed to terminate the letter motion, Doc. 16.

It is SO ORDERED.


                                                              10/16/2020
